                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

JANNA HALL                                    §      CIVIL ACTION
                                              §
VERSUS                                        §      NUMBER 3:13-CV-00406-SDD-RLB
                                              §
KENNY HABUL


                            JOINT NOTICE OF SETTLEMENT

       NOW COME, through undersigned counsel, Plaintiff Janna Hall and Defendant Kenny

Habul (collectively, the “Parties”), who, respectfully notice the Court that the parties have

tentatively settled the captioned matter, which is scheduled for trial before Judge Shelly Dick on

Monday, August 31, 2015. Presently, the Parties are in the process of working through the

settlement documents.


                                             Respectfully submitted,

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KENNY HABUL


                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing Joint Notice of Settlement has this

date been electronically filed with the Clerk of Court by using the CM/ECF system which will

send a notice of electronic filing to all CM/ECF participants.

       Baton Rouge, Louisiana, this 27th day of August, 2015.




                                                             s/ Jude C. Bursavich_____________
                                                             Jude C. Bursavich (#19303)




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